                                                               JS-6ID #:778
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  1                        UNITED STATES DISTRICT COURT
  2                      CENTRAL DISTRICT OF CALIFORNIA
  3
                                   WESTERN DIVISION
  4
  5
  6   ANDREW WEITZ,                                  ) No. 2:20-10968-SB-JEM
                                                     )
  7         Plaintiff,                               )
                                                        XXXXXXX JUDGMENT
                                                     ) [PROPOSED]
  8                v.                                )
                                                     )
  9                                                  )
      KILOLO KIJAKAZI, Acting                        )
 10   Commissioner of Social Security,               )
                                                     )
 11                                                  )
      Defendant.                                     )
 12                                                  )
                                                     )
 13                                                  )
                                                     )
 14
 15         Having approved the parties’ joint stipulation to voluntary remand
 16   pursuant to sentence four of 42 U.S.C. § 405(g) and to entry of judgment, THE
 17   COURT ADJUDGES AND DECREES that judgment is entered for Plaintiff.
 18
 19
 20
      Date: 11/24/2021                     ____________________________________
                                           HON. JOHN E. MCDERMOTT
 21                                        United States Magistrate Judge
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